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             Google LLC’S
             Opposition to
               Plaintiffs’
             Administrative
               Motion for
                 Relief
               (Dkt. 672)
      Unredacted Version
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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Diane M. Doolittle (CA Bar No. 142046) Andrew H. Schapiro (admitted pro hac vice)
 2 dianedoolittle@quinnemanuel.com         andrewschapiro@quinnemanuel.com
    Sara Jenkins (CA Bar No. 230097)       Teuta Fani (admitted pro hac vice)
 3 sarajenkins@quinnemanuel.com            teutafani@quinnemanuel.com
    555 Twin Dolphin Drive, 5th Floor      191 N. Wacker Drive, Suite 2700
 4 Redwood Shores, CA 94065                Chicago, IL 60606
    Telephone: (650) 801-5000              Telephone: (312) 705-7400
 5 Facsimile: (650) 801-5100               Facsimile: (312) 705-7401
 6
     Stephen A. Broome (CA Bar No. 314605)          Josef Ansorge (admitted pro hac vice)
 7   stephenbroome@quinnemanuel.com                 josefansorge@quinnemanuel.com
     Viola Trebicka (CA Bar No. 269526)             Xi (“Tracy”) Gao (CA Bar No. 326266)
 8   violatrebicka@quinnemanuel.com                 tracygao@quinnemanuel.com
     Crystal Nix-Hines (Bar No. 326971)             Carl Spilly (admitted pro hac vice)
 9   crystalnixhines@quinnemanuel.com               carlspilly@quinnemanuel.com
     Alyssa G. Olson (CA Bar No. 305705)            1300 I Street NW, Suite 900
10   alyolson@quinnemanuel.com                      Washington D.C., 20005
     865 S. Figueroa Street, 10th Floor             Telephone: (202) 538-8000
11   Los Angeles, CA 90017                          Facsimile: (202) 538-8100
     Telephone: (213) 443-3000
12   Facsimile: (213) 443-3100

13   Jomaire Crawford (admitted pro hac vice)       Jonathan Tse (CA Bar No. 305468)
     jomairecrawford@quinnemanuel.com               jonathantse@quinnemanuel.com
14   51 Madison Avenue, 22nd Floor                  50 California Street, 22nd Floor
     New York, NY 10010                             San Francisco, CA 94111
15   Telephone: (212) 849-7000                      Telephone: (415) 875-6600
     Facsimile: (212) 849-7100                      Facsimile: (415) 875-6700
16

17 Counsel for Defendant Google LLC

18                                UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20   CHASOM BROWN, WILLIAM BYATT,                    Case No. 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
21   CASTILLO, and MONIQUE TRUJILLO,                 GOOGLE LLC’S OPPOSITION TO
     individually and on behalf of themselves and    PLAINTIFFS’ ADMINISTRATIVE
22   all others similarly situated,                  MOTION FOR RELIEF (DKT. 672)
23                 Plaintiffs,                       Judge: Hon. Susan van Keulen
24          vs.                                      Trial Date:      None Set
25   GOOGLE LLC,
26                 Defendant.
27

28

                                                                 Case No. 4:20-cv-03664-YGR-SVK
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 1 I.       INTRODUCTION

 2          Plaintiffs’ self-styled L.R. 7–11 “administrative” motion seeking grave evidentiary and

 3 monetary sanctions against Google pursuant to Fed. R. Civ. P. 37(b) (“Motion” or “Mot.”) is

 4 procedurally improper and substantively meritless. It should be denied.

 5          First, the Motion is procedurally improper because the requested relief is far from

 6 “administrative” in nature—rather, it is the most extreme relief available under the Federal Rules.

 7 Plaintiffs know how to style a motion for sanctions. Dkt. No. 291–2. Yet, they inexplicably rush

 8 their latest sanctions gambit through as an administrative motion in violation of no fewer than five

 9 local rules. Their disregard of the Court’s procedural rules, alone, requires the Motion be denied.

10          Second, the Motion should also be denied because substantively it lacks merit. The sole basis
11 for sanctions is a purported violation of the Court’s August 12, 2021 order instructing that document

12 production be complete by October 6, 2021. Mot. 3. But Google did not fail to produce the 15

13 documents at issue by October 6, 2021; rather, Google included 13 of them on its timely-served

14 privilege logs, pursuant to Fed. R. Civ. P. 26(b)(5)(A) and Rule 13 of the Court’s Standing Order.

15 Google then re-reviewed those 13 documents, and produced them, in accordance with the timelines

16 subsequently ordered by the Court—in orders that Plaintiffs do not contend Google violated. And

17 contrary to Plaintiffs’ assertions, the two remaining documents were never subject to the August 12,

18 2021 order: one was produced following a much later Court order, and the other was produced in

19 full on June 18, 2021. There is no basis for any sanctions on this record.

20          Finally, Plaintiffs’ “alternative” request—that the Court reopen discovery to permit
21 Plaintiffs to conduct dozens of additional hours of depositions and to seek additional hyperlinked

22 documents—should also be denied because (i) the relief is not administrative, and (ii) Plaintiffs

23 cannot demonstrate good cause for reopening discovery at this stage given the documents relate to

24 topics on which Plaintiffs have taken substantial discovery based on earlier produced documents.

25 II.      ARGUMENT
26          A.     Plaintiffs’ “Administrative” Motion for Sanctions Is Procedurally Improper
27          The Motion Violates Local Rule 7–11. Plaintiffs filed the Motion pursuant to L.R. 7–11,
28 which permits a party to seek relief only for “miscellaneous administrative matters[] not otherwise

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 1 governed by a … Federal Rule.” L.R. 7–11 (emphasis added). But Plaintiffs explicitly seek

 2 evidentiary and monetary sanctions under Fed. R. Civ. P. 37(b), see Mot. 3, 5, which is a Federal

 3 Rule, and the relief requested is not administrative but substantive and extreme. Fair Housing of

 4 Marin v. Combs, 285 F.3d 899, 905 (9th Cir. 2001) (Rule 37(b) “sanctions are appropriate only in

 5 extreme circumstances” and where the violation is “due to willfulness [or] bad faith…”).1

 6          Courts in this district routinely deny substantive motions, like this one, improperly brought

 7 under the guise of seeking “administrative” relief. See, e.g., Harvey v. Morgan Stanley Smith Barney

 8 LLC, 2019 WL 9441672 at *2 (N.D. Cal. Sept. 5, 2019) (“[a]n administrative motion is the incorrect

 9 vehicle for [a] motion” involving substantive issues); Robertson v. Qadri, 2007 WL 2221075 at *1

10 (N.D. Cal. Aug. 2, 2007) (“Local Rule 7–11 was not an appropriate vehicle for plaintiff’s motion

11 … [as his] requested relief does not fall within the scope of ‘miscellaneous administrative

12 matters’”); Hess v. Astrazeneca Pharm., L.P., 2006 WL 2092068 at *1 (N.D. Cal. July 26, 2006)

13 (similar). The same outcome is warranted here.

14          The Motion Violates Local Rules 7–2, 7–8, and 37–4. L.R. 7–8 provides that “[a]ny motion
15 for sanctions, regardless of the sources of authority invoked, must comply with … L.R. 7–2,” which

16 requires, inter alia, a Notice of Motion that sets the hearing “not less than 35 days after filing of the

17 motion,” and gives Google at least 14 days and 25 pages to respond. Similarly, L.R. 37–4 provides

18 that “[w]hen, in connection with a dispute about … discovery, a party moves for an award of

19 attorney fees or other form of sanction under [FRCP] 37, the motion must … [c]omply with Civil

20 L.R. 7–8 and Civil L.R. 7–2.” It also requires that a motion for sanctions “[b]e accompanied by

21 competent declarations [that] itemize with particularity the otherwise unnecessary expenses,

22 including attorney fees, directly caused by the alleged violation … and set forth an appropriate

23 justification for any … hourly rate claimed.” Plaintiffs ignored these Local Rules too.

24          The Mao Declaration Violates Local Rules 7–5 and 7–11. L.R. 7-5 states that a declaration
25 offered in support of a motion “may only contain facts” and “must avoid conclusions and argument.”

26

27   1
     See also Klund v. High Technology Solutions, Inc., 2006 WL 549385 at *6 (S.D. Cal. 2006)
28 (“preclusion of evidence is among the most severe” sanction); Amersham Pharmacia Biotech, Inc.
   v. Parkin-Elmer Corp., 190 F.R.D. 644, 648 (N.D. Cal. 2000) (similar).
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 1 In violation of this Rule—and in an apparent attempt to evade L.R. 7–11(a)’s five-page limit—

 2 Plaintiffs attach the Declaration of Mark Mao and a six-page “chart” replete with (i) self-serving

 3 and misleading characterizations of documents and (ii) argument as to why each purportedly

 4 “supports Plaintiffs’ claims and undermines Google’s defenses” (Dkt. 672-2, Ex. A).

 5          B.     Plaintiffs’ “Administration” Motion Is Substantively Meritless

 6          Because Plaintiffs seek sanctions solely under Rule 37(b), as a threshold matter they must

 7 show that Google “fail[ed] to obey an order to provide or permit discovery.” Fed. R. Civ. P. 37(b).

 8          The only order that Plaintiffs claim Google violated is the Court’s August 12, 2021 order

 9 that “[d]ocument productions [] be completed … by October 6, 2021.” Mot. 3. But 13 of the 15 cited

10 documents were included on Google’s privilege log as of October 27, 2021 (the “Re-Review

11 Documents”), and the other two were either (i) produced in full long ago or (ii) collected and

12 reviewed at a later date as authorized by the Court.2 This process is consistent with Fed. R. Civ. P.

13 26(b)(5)(A), the Court’s order regarding Google’s privilege logs (see Dkt. 288), and Rule 13 of the

14 Court’s Standing Order. Spilly Decl. ¶¶ 2–3. And Google timely produced the Re-Review

15 Documents pursuant to the re-review orders issued by the Court on April 15, 2022 (Dkt. 542) and

16 June 10, 2022 (Dkt. 605). Plaintiffs cannot show a violation of a Court order on this record.

17          Nor is there any merit to Plaintiffs’ suggestion that Google’s logging of the Re-Review
18 Documents—all but two of which are stamped “privileged” or refer to “legal” on their face—was

19 itself a violation of the August 12, 2021 Order. At the September 9, 2021 hearing, the Court

20 recognized that it “set a hard deadline” and “Google has a lot of documents to be produced” by

21 October 6, 2021. 9/30/21 2021 Hrg. Tr. 25:24–25. Google apprised the Court that compliance with

22 that deadline was a “herculean effort,” requiring Google to hire over 300 contract attorneys. Id. at

23 51:3–9. Google explained that “sometimes when you do that … there are going to be some inevitable

24 mistakes; you have to claw things back; or there might be some later … follow-up productions

25

26
   2
     GOOG-CABR-04780837.R was produced (with the comment Plaintiffs cite included in the text
27 file provided to Plaintiffs) with the Bates number GOOG-BRWN-00157001 on June 18, 2021, and

28 GOOG-BRWN-00857642 originated from Bert Leung’s files collected and reviewed in February
   2022 pursuant to the agreement of the parties in mid-February 2022 (Dkt. 406).
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 1 where we learn … in quality control that there was a call here or there on responsiveness or privilege

 2 that was wrong.” Id. at 51:10–17. The Court also recognized this: “I would be surprised if there

 3 were not inadvertent productions or even … ‘inconsistent’ productions.” Id. at 26:1–4.

 4          To remedy this issue, the Court allowed Plaintiffs to make challenges to Google’s privilege

 5 log, and ultimately ordered that Google re-review over a thousand documents. See, e.g., Dkt. 288

 6 (October 1, 2021 order setting October 18, 2021 deadline for Plaintiffs to raise challenges); Dkt.

 7 307 (October 27, 2021 order authorizing further productions following a targeted re-review and

 8 ordering the parties to “meet and confer [on] a similar process … for future productions”); Dkt. 522

 9 (April 1, 2022 order instructing Google to file a privilege re-review proposal by April 11, 2022);

10 Dkt. 542 (April 15, 2022 order instructing Google to conduct further re-review); Dkt. 605 (June 10,

11 2022 order directing the re-review of two additional categories of documents). Unsurprisingly, not

12 a single one of these orders regarding Plaintiffs’ challenges and Google’s re-review contemplates

13 sanctions for de-designations. Id. Nor do Plaintiffs argue Google violated any of these orders. That

14 Google later de-designated and produced additional documents on the timelines ordered by the

15 Court shows Google complied with the Court’s orders, not the opposite.

16          Because Plaintiffs (i) cannot show that Google violated the August 12, 2021 order, (ii) do
17 not argue that Google violated any other discovery orders, and (iii) do not argue that Google acted

18 in bad faith,3 there is no basis for any sanctions and thus the Motion must be denied.4

19          C.      Plaintiffs Fail to Establish Undue Prejudice from the Productions
20          Even if their motion was procedurally proper and Plaintiffs could show that Google violated
21 the August 12 order, sanctions would still be unwarranted because Plaintiffs fail to show undue

22

23
     3
     Plaintiffs argue that they “need not establish Google acted with negligence or bad faith,” but allude
24 to bad faith by claiming “Google’s privilege review was anything by ‘robust’” in light of two
   documents they claim should never have been withheld in the first place. Mot. 4. To the extent
25
   Plaintiffs ask the Court to infer bad faith from Google’s initial withholding of these two documents,
26 their request should be denied. Exhibit 6 is marked privileged on its face, and the comment in Exhibit
   11 references a “legal perspective.”
27 4 Plaintiffs’ reliance (Mot. 3) on Sherwood Brands, Inc. v. Pennsylvania Manufacturers’

28 Association, 2010 WL 11469874 (D.R.I. Sept. 30, 2010) is misplaced because the case did not
   concern the production of documents initially withheld on privilege grounds.
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 1 prejudice. First, courts in this district are clear that “[d]elayed production of documents is rarely

 2 sufficient” to establish the degree of prejudice required for sanctions. Network Appliance, Inc. v.

 3 Bluearc Corp., 2005 WL 1513099 at *3 (N.D. Cal. June 27, 2005) (citation omitted); see also Klund,

 4 2006 WL 549385 at *6 (“an approximately three-month delay in discovery … cannot be construed

 5 as undue prejudice”). Second, Plaintiffs’ assertion (Mot. 3) that “they were never able to question

 6 any witnesses about these documents or conduct … follow up discovery” is belied by the record.5

 7 The documents are either duplicates of already produced files or relate to topics on which Plaintiffs

 8 received similar documents.

 9          D.     Plaintiffs’ Proposed Alternative Relief Should Be Denied

10          In the alternative, Plaintiffs make an untimely request to reopen discovery so they can depose

11 Google employees on 40 additional documents plus any hyperlinked documents, for 30 minutes per

12 documents, with Google covering Plaintiffs’ attorneys’ fees as a sanction. Mot. 4–5. This request

13 should also be denied. First, reopening discovery is not administrative relief, but rather requires an

14 adjustment to the case schedule pursuant to Rule 16 (which has a good cause standard that Plaintiffs

15 do not meet, let alone address). See Khan v. SAP Labs, LLC, 2022 WL 1606295 at *3 (N.D. Cal.

16 May 20, 2022) (“In order to reopen discovery, Khan would have to demonstrate that there is good

17 cause to modify the scheduling order under … 16(b)(4).”). Second, Plaintiffs cannot show good

18 cause given the documents reflect information contained in earlier-produced documents on which

19 Plaintiffs have taken substantial discovery.6

20 III.     CONCLUSION
21          For the foregoing reasons, Google respectfully requests that the Motion be denied.
22
     5
23   Indeed, of the 15 documents cited in their motion, Plaintiffs identified seven in a since-stricken
   filing from May 9, 2022 (over a month before they moved for class certification). Dkt. 573–2. In
24 the intervening three months, Plaintiffs never asked Google to re-open depositions to permit further
   questioning nor sought relief from the Court. See L.R. 7–8(c) (sanctions motions “must be made as
25
   soon as practicable after the filing party learns of the circumstances that it alleges make the motion
26 appropriate”).The untimeliness of this Motion is yet another basis to deny Plaintiffs’ request.
   6
     See, e.g., Spilly Dec. Ex. A (Berntson June 16, 2021 30(b)(6) Tr.) 373:22–76:11, 378:16–89:23
27 (discussing potential use of X-Client-Data header for detection of private browsing, as discussed by

28 Mr. Leung in Plaintiffs’ Ex. 6); Spilly Decl. Ex. B (GOOG-BRWN-00157001) (text of comment
   highlighted in Plaintiffs’ Ex. 11 in text file produced to Plaintiffs on June 18, 2021).
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 1 DATED: August 16, 2022               QUINN EMANUEL URQUHART &
                                        SULLIVAN, LLP
 2                                       By         /s/ Andrew H. Schapiro
 3                                         Andrew H. Schapiro (admitted pro hac vice)
                                            andrewschapiro@quinnemanuel.com
 4                                          Teuta Fani (admitted pro hoc vice)
                                            teutafani@quinnemanuel.com
 5                                          191 N. Wacker Drive, Suite 2700
                                            Chicago, IL 60606
 6
                                            Telephone: (312) 705-7400
 7                                          Facsimile: (312) 705-7401

 8                                          Stephen A. Broome (CA Bar No. 314605)
                                            stephenbroome@quinnemanuel.com
 9                                          Viola Trebicka (CA Bar No. 269526)
                                            violatrebicka@quinnemanuel.com
10                                          Crystal Nix-Hines (Bar No. 326971)
11                                          crystalnixhines@quinnemanuel.com
                                            Alyssa G. Olson (CA Bar No. 305705)
12                                          alyolson@quinnemanuel.com
                                            865 S. Figueroa Street, 10th Floor
13                                          Los Angeles, CA 90017
                                            Telephone: (213) 443-3000
14
                                            Facsimile: (213) 443-3100
15
                                            Diane M. Doolittle (CA Bar No. 142046)
16                                          dianedoolittle@quinnemanuel.com
                                            Sara Jenkins (CA Bar No. 230097)
17                                          sarajenkins@quinnemanuel.com
                                            555 Twin Dolphin Drive, 5th Floor
18
                                            Redwood Shores, CA 94065
19                                          Telephone: (650) 801-5000
                                            Facsimile: (650) 801-5100
20
                                            Josef Ansorge (admitted pro hac vice)
21                                          josefansorge@quinnemanuel.com
                                            Xi (“Tracy”) Gao (CA Bar No. 326266)
22                                          tracygao@quinnemanuel.com
                                            Carl Spilly (admitted pro hoc vice)
23                                          carlspilly@quinnmemanuel.com
                                            1300 I. Street, N.W., Suite 900
24                                          Washington, D.C. 20005
                                            Telephone: 202-538-8000
25                                          Facsimile: 202-538-8100
26                                          Jomaire A. Crawford (admitted pro hac vice)
                                            jomairecrawford@quinnemanuel.com
27                                          51 Madison Avenue, 22nd Floor
                                            New York, NY 10010
28                                          Telephone: (212) 849-7000

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 1                                         Facsimile: (212) 849-7100

 2                                         Jonathan Tse (CA Bar No. 305468)
                                           jonathantse@quinnemanuel.com
 3
                                           50 California Street, 22nd Floor
 4                                         San Francisco, CA 94111
                                           Telephone: (415) 875-6600
 5                                         Facsimile: (415) 875-6700
 6                                         Attorneys for Defendant Google LLC
 7

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